                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF VIRGINIA

                                         Danville Division


     THE UNITED STATES OF AMERICA                     )
                                                      )
                                                      )
     v.                                               )   Case No.: 4:18CR00012
                                                      )
                                                      )
     MONTEZ LAMAR ALLEN                               )


          DEFENDANT ALLEN’S MOTION TO JOIN THE MOTION FOR A JURY
          QUESTIONNAIRE AND TO IMPANEL A DANVILLE DIVISION VENIRE


            COMES NOW the defendant, Montez Allen, by and through counsel, and hereby

     moves to join defendant Jermay Smith, Jr.’s motion for a jury questionnaire (Doc. No.

     281) and joins defendant Javontay Holland’s motion to empanel a Danville jury venire

     (Doc. No. 283).

            In joining said Motions, Mr. Allen adopts the legal and factual arguments set forth

     in the memoranda of law filed by Mr. Smith’s and Mr. Holland’s counsel respectively.

     Mr. Allen further asks the Court to accept the jury questionnaire proposed and filed by

     Mr. Smith’s counsel (Doc. No. 281-1).

            Mr. Allen reserves the right to present additional oral argument, if necessary, at

     the hearing scheduled for April 19, 2019 in Roanoke.




Case 4:18-cr-00012-MFU-RSB Document 290 Filed 03/30/19 Page 1 of 2 Pageid#: 1122
            WHEREFORE, Mr. Allen asks the Court to grant his motion for a jury

     questionnaire, accept the jury questionnaire filed by Mr. Smith’s counsel and order the

     jury venire be selected from in and around the Danville, VA Division.



                                                         RESPECTFULLY SUBMITTED,

                                                               Montez Lamar Allen

                                                               By: s/ Neil A. Horn
                                                                     Of Counsel


                                                               By: s/ Seth Weston
                                                                     Of Counsel


                                   CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing Motion was sent via electronic
     notification to Ronald Huber, Esq., Managing Assistant United States Attorney, U.S.
     Attorney’s Office, and to Heather Carlton, Esq. Asst. United States Attorney, at 255 West
     Main Street, Charlottesville, VA on this 30th day of March 2019.


                                                            s/ Neil A. Horn



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Case 4:18-cr-00012-MFU-RSB Document 290 Filed 03/30/19 Page 2 of 2 Pageid#: 1123
